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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:16-CR-92-JAM
12                                Plaintiff,              STIPULATION REGARDING EXCLUDABLE
                                                          TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                            FINDINGS AND ORDER
14   WAYNE ARTHUR YORK II,                                DATE: October 22, 2019
     JUAN CARLOS MONTALBO                                 TIME: 9:15 a.m.
15                                                        COURT: Hon. John A. Mendez
                                  Defendants.
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17
                                                STIPULATION
18
            1.     By previous order, this matter was set for status on October 22, 2019.
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            2.     By this stipulation, defendants now move to continue the status conference until
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     November 26, 2019 at 9:15 a.m., and to exclude time between October 22, 2019, and November 26,
21
     2019, under Local Code T4.
22
            3.     The parties agree and stipulate, and request that the Court find the following:
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                   a)      The government has represented that the discovery associated with this case
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            includes more than 100,000 pages, not including some particularly sensitive Jencks material that
25
            will be made available before trial in the event of trial. All of this discovery has been either
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            produced directly to counsel and/or made available for inspection and copying with the
27
            exception of the particularly sensitive Jencks material.
28
                   b)      Counsel for defendant WAYNE YORK is currently in a homicide trial in state

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      PERIODS UNDER SPEEDY TRIAL ACT
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 1          court that is taking longer than was anticipated when the parties set this case for hearing on

 2          October 22, 2019. Comparing the parties’ schedules and with the court’s, and taking into

 3          account defense counsel’s familiarity with the case and continuity of counsel, the parties request

 4          that the expected change of plea for defendant YORK and the status and trial setting hearing for

 5          defendant MONTALBO be continued to November 26, 2019.

 6                 c)      Counsel for defendants believe that failure to grant the above-requested

 7          continuance would deny them the reasonable time necessary for effective preparation, taking into

 8          account the exercise of due diligence.

 9                 d)      The government does not object to the continuance.

10                 e)      Based on the above-stated findings, the ends of justice served by continuing the

11          case as requested outweigh the interest of the public and the defendant in a trial within the

12          original date prescribed by the Speedy Trial Act.

13                 f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

14          et seq., within which trial must commence, the time period of October 22, 2019 to November 26,

15          2019, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

16          T4] because it results from a continuance granted by the Court at defendant’s request on the basis

17          of the Court’s finding that the ends of justice served by taking such action outweigh the best

18          interest of the public and the defendant in a speedy trial.

19          4.     Nothing in this stipulation and order shall preclude a finding that other provisions of the

20 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

21 must commence.

22          IT IS SO STIPULATED.

23

24
      Dated: October 17, 2019                                 MCGREGOR W. SCOTT
25                                                            United States Attorney
26                                                            /s/ MATTHEW G. MORRIS
                                                              MATTHEW G. MORRIS
27                                                            Assistant United States Attorney
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      PERIODS UNDER SPEEDY TRIAL ACT
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     Dated: October 17, 2019                        HEATHER WILLIAMS
 1                                                  Federal Defender
 2                                                  /s/ TIMOTHY ZINDEL (as authorized
                                                    by email on 10/17/19)
 3                                                  TIMOTHY ZINDEL
                                                    Counsel for Defendant
 4                                                  JUAN CARLOS MONTALBO
 5
     Dated: October 17, 2019                        /s/ CHRISTOPHER COSCA (as
 6                                                  authorized by email on 10/17/19)
                                                    CHRISTOPHER COSCA
 7                                                  Counsel for Defendant
                                                    WAYNE ARTHUR YORK II
 8

 9
                                        FINDINGS AND ORDER
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          IT IS SO FOUND AND ORDERED this 17th day of October, 2019.
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12                                                  /s/ John A. Mendez
                                               THE HONORABLE JOHN A. MENDEZ
13                                             UNITED STATES DISTRICT COURT JUDGE
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     STIPULATION REGARDING EXCLUDABLE TIME      3
     PERIODS UNDER SPEEDY TRIAL ACT
